LA FOLLETTE, JOHNSON, DeHAAS, FESLER & AMES

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Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page1of49 Page ID #:1

Mark M. Williams, State Bar No. 89848

LA FOLLETTE, JOHNSON, DeHAAS, FESLER & AMES
701 North Brand Blvd., Suite 600

Glendale, California 91203-9877

Telephone (213) 426-3600 * Facsimile (213) 426-3650

Attorneys for Plaintiff DANIEL BADER, dba SEA LANDING
DIVE CENTER

UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION
DANIEL BADER, d.b.a. SEA LANDING CASE NO:
DIVE CENTER,
Plaintiff, COMPLAINT FOR INJUNCTIVE RELEIF
UNDER THE FREEDOM OF INFORMATION
vs. ACT

UNITED STATES DEPARTMENT OF
JUSTICE; BUREAU OF ALCOHOL,
TOBACCO, FIREARMS and EXPLOSIVES

Defendants.

 

 

 

 

TO THE COURT AND TO THE DEFENDANTS AND THEIR ATTORNEYS OF RECORD:
COMES NOW plaintiff Daniel Bader, d.b.a. Sea Landing Dive Center, and for his complaint
alleges as follows:
COMPLAINT FOR INJUNCTIVE RELIEF
1. This is an action under the Freedom of Information Act, 5 U.S.C. §552, for injunctive and
other appropriate relief and seeking the disclosure and release of agency records improperly
withheld from plaintiff by the Department of Justice (“DOJ”) and its component, the Bureau
of Alcohol, Tobacco, Firearms and Explosives (“ATF”).
JURISDICTION AND VENUE
2. This Court has both subject matter jurisdiction over this action and personal jurisdiction over

the parties pursuant to 5 U. S. C. §552(a)(4)(B). This Court also had jurisdiction over this

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COMPLAINT FOR INJUNCTIVE RELEIF

 
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Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page 2of49 Page ID #:2

10.

action pursuant to 28 U.S.C. §1331. Venue lies in this district under 5 U.S. C. §552(a)(4)(B).
Daniel Bader is a resident of the State of California, County of Santa Barbara, and does
business in the City of Santa Barbara as Sea Landing Dive Center, located in Santa Barbara
Harbor. Plaintiff is a named defendant in litigation arising out of the Conception dive boat fire
of September 2, 2019, which is pending in Los Angeles County Superior Court under lead
case Fiedler, et al. v. Truth Aquatics, Inc., et _al., case number 21STCV08121, and related
actions presently assigned to the Honorable Caroline B. Kuhl, Department 12, Spring Street
Courthouse.

Defendant DOJ is a Department of the Executive Branch of the United States Government,
and it includes the component entity the Bureau of Alcohol, Tobacco, Firearms and

Explosives or “ATF.” These are agencies within the meaning of 5 U. S. C. §552(f).

_ The DOJ and the ATF conducted an investigation into the cause and origin of the fire that

consumed the dive vessel Conception in the early morning hours of September 2, 2019. The
ATF prepared a report of its investigation which included a separate list of evidence and
references in support of its opinions and conclusions.

The ATF report and its supporting data have not been made public. Plaintiff herein is informed
and believes and thereon alleges the DOJ gave the plaintiffs in the underlying personal injury
actions and their counsel the ATF report absent the supporting data if they agreed in writing
not to release the report or discuss its contents with third parties.

Plaintiff, through his counsel of record herein, made a formal FOIA request to the ATF for
the production of the report(s) and their supporting data and evidence. Attached hereto as
Exhibit A is a true and correct copy of said request, which is incorporated by this reference.
The DOJ and the ATF denied in writing this FOIA request. Attached hereto as Exhibit B is a
true and correct copy of that denial, which is incorporated by this reference.

Plaintiff, by and through his counsel, appealed said denial. A true and correct copy of that
appeal is attached hereto as Exhibit C and is incorporated by this reference.

The DOJ and the ATF denied this appeal. A true and correct copy of said denial is attached

hereto as Exhibit D and is incorporated by this reference.

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COMPLAINT FOR INJUNCTIVE RELEIF

 
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Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page3o0f49 Page ID #:3

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12.

13.

Plaintiff has exhausted the applicable administrative remedies with respect to its FOIA request
to the DOJ and the ATF.

The contents of the ATF reports and particularly the supporting evidence and data for the
reports are crucial for the defendants in the underlying civil litigation. Defendants and their
consultants did not have direct access to the Conception dive boat post-accident to conduct
their own inspection of the physical evidence and to obtain timely interviews with key
witnesses to the fire and to the operation of the dive boat prior to the fire.

There is presently a criminal prosecution of the captain of the Conception dive boat for alleged
criminal conduct in the operation of the vessel. A copy of that indictment is attached hereto
as Exhibit E and is incorporated by this reference. Apart from there having been a pre-dawn
fire aboard the vessel and apart from there having been no fire watch posted or assigned to
remain on patrol and able to respond to such an emergency, there are no facts concerning the

cause and origin of the subject vessel fire that impact on that prosecution.

14. The DOJ and the ATF have wrongfully withheld the requested records from plaintiff.
REQUESTED RELIEF

WHEREFORE, plaintiff prays that this Court:

1. Order the DOJ and the ATF to disclose the requested records in their entireties, including
all versions or drafts of the reports, the notes and all raw data and witness interviews and
make copies available to plaintiff;

2. Provide for expeditions proceedings in this action;

3. Award to plaintiff its costs and reasonable attorney fees incurred in this action;

4, Grant such other relief as the Court may deem just and proper.

Respectfully Submitted,

Dated: January 10, 2022 LA FOLLETTE, JOHNSON, DeHAAS, FESLER & AMES

wy: WM

MARK M. WILLIAMS
Attorneys for Plaintiff DANIEL BADER, dba SEA
LANDING DIVE CENTER

-3-
COMPLAINT FOR INJUNCTIVE RELEIF

 
Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page4of49 Page ID#:4

EXHIBIT “A”
. Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page5of49 Page ID#:5

   

ORANGE COUNTY

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Tel (618) 749-4700
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www.lidfa.com

June 8, 2021
Via E-Mail— foiamail@atf.gov

Bureau of Alcohol, Tobacco, Firearms and Explosives

Information Privacy and Governance (IPG) Division, Room 4E.301
99 New York Avenue, NE

Washington, DC 20226

Re: NANCY FIEDLER, et al., v. TRUTH AQUATIC INC., et al.,
Our File No.: 00111.42262MMW
Date of Loss: September 2, 2019
Incident: Dive Boat Conception Fire
My Client: Daniel Bader, d.b.a. Sea Landing Dive Center

To Whom it May Concern:

Please be advised that I am the attorney for Daniel Bader, d.b.a. Sea Landing Dive Center
in Santa Barbara, California, who is a defendant in the above captioned civil litigation pending in
the Superior Court of the County of Los Angeles, assigned for all purposes to the Honorable
Carolyn B. Kuhl, Department 12.

This is a FOIA request for a copy of the ATF Report of its investigation of the dive boat
Conception fire that took place on September 2, 2019 at Santa Cruz Island, California. This request
appears to fall into the category “all other requesters” and our office is willing to pay the fees
associated with that category.

The date range for this request is September 2, 2019 through to the present. Members from
the National Response Team (NRT) of the Bureau of Alcohol, Tobacco, Firearms and Explosives
(ATF) along with ATF special agents from the Los Angeles Field Division were activated to join
the investigation of the fire that occurred on the dive boat Conception killing 34 people. The fire
started in the early morning hours of Labor Day while the ship was anchored off Santa Cruz Island.

The partial NRT callout had experts processing the scene to determine the cause and origin of the
fire. Special agents and other experts with the NRT were activated to join the investigation at the
request of the Santa Barbara County Sheriff’s Office (SBCSO). The NRT members worked jointly
with the ATF Los Angeles Field Division, SBCSO, and the U.S. Coast Guard.

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ATF FOIA REQUEST

Re: NANCY FIEDLER, et al., v. TRUTH AQUATIC INC., et al.,
June 8, 2021

Page 2

Thank you for your prompt attention to this FOIA request. My direct dial line is 213-438-
2125 and my email address is mwilliams@ljdfa.com.

Very truly yours,

LA FOLLETTE, JOHNSON, DeHAAS,
FESLER & AMES

By /s/ Mark M. Williams
MARK M. WILLIAMS
Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page 7of49 Page ID#:7

EXHIBIT “B”
Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page 8of49 Page ID #:8

Heda

U.S. Department of Justice

Bureau of Alcohol, Tobacco,
Firearms and Explosives

 

 

www.atf gov

September 29, 2021 REFER TO: 2021-0854

Mr. Mark M. Williams, Esq.

LaFollette Johnson

865 South Figueroa Street

32nd Floor -
Los Angeles, CA 90017-2543

mwilliams@ljdfa.com
Dear Mr. Williams:

This responds to your Freedom of Information Act (FOIA) [/Privacy Act] request dated June 8,
2021 and received by the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) on June
8, 2021, in which you requested records concerning a fire at Dive Boat Conception, Santa Cruz
Island, CA on 9/2/19. Your request has been assigned number 2021-0854. Please refer to this

number on any future correspondence.

At this time, the investigation relating to the fire at Dive Boat Conception, Santa Cruz Island, CA
on 9/2/19 is still open. Therefore, your request is denied pursuant to 5 U.S.C. § 5 52(b)(7)(A)
because it concerns an ongoing investigation. Exemption (b)(7)(A) authorizes us to withhold
investigatory records or information compiled for law enforcement purposes, the release of
which could reasonably be expected to interfere with enforcement proceedings.

For your information, Congress excluded three discrete categories of law enforcement and
national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c). This
response is limited to those records that are subject to the requirements of the FOIA. This is a
standard notification that is given to all our requesters and should not be taken as an indication
that excluded records do, or do not, exist.

You may contact our FOIA Public Liaisons, Darryl Webb or Zina Kornegay, at (202) 648-7390,
for any further assistance and to discuss any aspect of your request. Additionally, you may
contact the Office of Government Information Services (OGIS) at the National Archives and
Records Administration to inquire about the FOIA mediation services they offer. The contact
information for OGIS is as follows: Office of Government Information Services, National
Archives and Records Administration, Room 2510, 8601 Adelphi Road, College Park,
Maryland 20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-
684-6448; or facsimile at 202-741-5769.
Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page9of49 Page ID#:9

Mr. Williams

If you are not satisfied with my response to this request, youmay administratively appeal by
writing to the Director, Office of Information Policy (OIP), United States Department of Justice,
441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an appeal through
OIP's FOIA STAR portal by creating an account following the instructions on OIP’s website:
https://www.justice.gov/oip/submit-and-track-request-or-appeal. Your appeal must be
postmarked or electronically transmitted within 90 days of the date of my response to your
request. If you submit your appeal by mail, both the letter and the envelope should be clearly
marked “Freedom of Information Act Appeal.”

Sincerely,

Adam C. Siple
Chief

Information and Privacy Governance Division
Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page 10 of 49 Page ID #:10

EXHIBIT “C”
_ , Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page 11o0f49 Page ID #:11

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Fax (619) 719-4704

October 13, 2021
VIA CERTIFIED MAIL

Director, Office of Information Policy (OPI)
United States Department of Justice

441 G. Street, NW, 6" Floor

Washington, D. C. 20530

Re: NANCY FIEDLER, et al., v. TRUTH AQUATIC INC., et al.,
DATE OF LOSS: 09-02-2019
INCIDENT: DIVE BOAT CONCEPTION FIRE
My Client: Daniel Bader, d.b.a. Sea Landing Dive Center
FOIA NUMBER: 2021-0854

Dear Director:
This is an appeal under the Freedom of Information Act.

On June 8", 2021, I requested documents under the Freedom of Information Act. My
request was assigned identification number 2021-0854. On September 29, 2021 I received a
response to my request in a letter signed by Adam C. Siple, Chief, Information and Privacy
Governance Division. I appeal the denial of my June 8" request for a copy of the ATF report(s)
and the supporting evidence/information concerning the Conception boat fire of 09-02-2019.

The documents that were withheld must be disclosed under FOIA because disclosure of
this information will not reasonably be expected to interfere with an enforcement proceeding, or
deprive a person of the right to a fair trial or an impartial adjudication. (See 5 USC 552(b)(7).)

The United States has proceeded against the Captain of the Conception, Mr. Jerry Nehl
Boylan, in CR 2:20-cr-00600-GW. Mr. Boylan is charged with negligent inattention to his duties
as vessel captain by failing to post a night watch or roving patrol (46 CFR 185.410), failing to
conduct sufficient fire drills (46 CFR 185.524) and failing to conduct sufficient crew training (46
CFR 185.420). (See attached Indictment.)

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_ Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page 12 of 49 Page ID #:12

Director, Office of Information Policy (OPI)

United States Department of Justice

Re: NANCY FIEDLER, et al., v. TRUTH AQUATIC INC.., et al.,
October 13, 2021

Page 2

The United States Attorney has determined that the criminal action against Mr. Boylan is
related to the Limitation of Liability Act (LOLA) filing by Truth Aquatics, Inc. (See attached
Notice of Related Case dated 12/01/2020.)

The Deputy Federal Public Defender challenged the government’s attempt to have the
court determine the LOLA action was related to the criminal prosecution of Mr. Boylan, which
the Public Defender characterized as an attempt to forum shop the assigned trial judge in the
criminal case. (See attached Opposition to Government’s Notice of Appeal.)

The ATF investigation focused on the cause and origin of the fire that consumed the
Conception and claimed the lives of thirty-four persons in the early morning hours of September
2, 2019. In contrast, the government’s indictment of Mr. Boylan is focused on Mr. Boylan’s alleged
failure to post a roving patrol or fire watch and his alleged failure to properly train his crew.

The LOLA filing and the related civil suits by the survivors of the deceased passengers and
crew member are focused on the cause and origin of the fire itself and how that fire spread in the
vessel. The ATF report and its supporting evidence/sources are key documents in the study of how
the Conception fire started, where it started and how it spread.

The ATF describes its role and function as “The Bureau of Alcohol, Tobacco, Firearms
and Explosives (ATF) is the Federal agency primarily responsible for administering and enforcing
the criminal and regulatory provisions of the Federal laws pertaining to destructive devices
(bombs), explosives, and arson. Over nearly 40 years, ATF has developed scientifically proven
investigative capabilities, expertise, and resources that have positioned ATF as the Nation’s
primary source for explosives and fire investigative knowledge and assistance.”

The ATF National Response Team was activated on September 5, 2019 to join the
investigation of the fire aboard the Conception. Special Agent Carlos A. Canino stated “the ATF
is committed to working alongside local law enforcement its national partners by bringing it
resources to determine the origin and cause of this fire.” (See attached ATF Press Release.)

The NTSB report in this matter provided “Jn the interior of the aft portion of the salon, the
potential sources of ignition available included the vessel’s electrical system and the electronic
devices and batteries being charged at the afimost tables and aft bulkhead area. On the aft exterior
of the salon, the potential ignition sources would likely be limited to improperly discarded smoking
materials in the trash can,

“At the exterior of the aft portion of the salon (in the area where the stairs lead to the upper
deck), the only potential sources of ignition would include transient types, such as discarded
smoking materials. Based on the examination of the Vision and the statements from previous
passengers, there was no evidence of electrical systems or electronic devices being charged in this
area. There was, however, one large polyethylene trash can located aft of the salon underneath

 
_Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page 13 o0f49 Page ID #:13

Director, Office of Information Policy (OPI)

United States Department of Justice

Re: NANCY FIEDLER, et al., v. TRUTH AQUATIC INC., et al.,
October 13, 2021

Page 3

the stairs to the upper deck where one could potentially discard smoking materials. Old T
regulations did not allow for the use of these trash cans in the passenger bunkroom but did not
preclude their use in any other area of the vessel. New T regulations do not allow the use of these
combustible trash cans in any areas of the vessel but do not retroactively apply to vessels built
under the Old T regulations unless they are replaced. As stated earlier, polyethylene trash cans
are highly combustible, making them susceptible to accidental fires that could be caused by the
improper disposal of smoking materials or other unforeseen sources of ignition. The NTSB
concludes that although a definitive ignition source cannot be determined, the most likely ignition
sources include the electrical distribution system of the vessel, unattended batteries being charged,
improperly discarded smoking materials, or another undetermined ignition source.”

We are informed and believe and thereon state that the ATF investigators concluded the
most probable source of ignition for this fire was the improper disposal of smoking materials in
one of the large polyethylene trash cans present in the main salon.

The investigation of the ATF is important to the parties litigating the civil suits filed in Los
Angeles County Superior Court, the lead case of which is Fiedler v. Truth Aquatics, Case No.
21STCV08121, which is assigned for all purposes to the hon. Carolyn Kuhl in Department 12.

The test for whether the revelation of the ATF investigation is protected by 5 USC
§552(b)(7)(A) is whether the revelation of the data will tend to obstruct, impede or hinder
enforcement proceedings. (Curran v. Department of Justice (1987) 813 F.2d 473)

In this matter, the ATF’s study of the cause and origin of the Conception boat fire would

not reasonably be expected to interfere with the prosecution of the case against Mr. Boylan, who
is charged with failing to properly train his crew and failure to post a fire watch.

Very truly yours,
LA FOLLETTE, JOHNSON, DeHAAS,

FESLER & AMES
By IM : b) ML ,

MARK M. WILLIAMS

enclosures

 

 

 
_ , Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page 14 o0f49 Page ID #:14

ORANGE COUNTY 7 i opry w my: ‘ Py . 9 JOHN T. LAFOLLETTE

Tel (744) 558-7008 A LAFOLLETTE J OHNSON (1922 ~ 1980)

DAREN T. JOHNSON
{1928 ~ 2047)

 

 

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Tel (849) 749-4700
Fax (619) 719-4704
June 8, 2021

Via E-Mail— foiamail@atf.gov

Bureau of Alcohol, Tobacco, Firearms and Explosives

Information Privacy and Governance (IPG) Division, Room 4E.301
99 New York Avenue, NE

Washington, DC 20226

Re: NANCY FIEDLER, et al., v. TRUTH AQUATIC INC., et al.,
Our File No.: 00111.42262MMW
Date of Loss: September 2, 2019
Incident: Dive Boat Conception Fire
My Client: Daniel Bader, d.b.a. Sea Landing Dive Center

To Whom it May Concern:

Please be advised that I am the attorney for Daniel Bader, d.b.a. Sea Landing Dive Center
in Santa Barbara, California, who is a defendant in the above captioned civil litigation pending in
the Superior Court of the County of Los Angeles, assigned for all purposes to the Honorable
Carolyn B. Kuhl, Department 12.

This is a FOIA request for a copy of the ATF Report of its investigation of the dive boat
Conception fire that took place on September 2, 2019 at Santa Cruz Island, California. This request
appears to fall into the category “all other requesters” and our office is willing to pay the fees
associated with that category.

The date range for this request is September 2, 2019 through to the present. Members from
the National Response Team (NRT) of the Bureau of Alcohol, Tobacco, Firearms and Explosives
(ATF) along with ATF special agents from the Los Angeles Field Division were activated to join
the investigation of the fire that occurred on the dive boat Conception killing 34 people. The fire
started in the early morning hours of Labor Day while the ship was anchored off Santa Cruz Island.

The partial NRT callout had experts processing the scene to determine the cause and origin of the
fire. Special agents and other experts with the NRT were activated to join the investigation at the
request of the Santa Barbara County Sheriff's Office (SBCSO). The NRT members worked jointly
with the ATF Los Angeles Field Division, SBCSO, and the U.S. Coast Guard.

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. Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page 15 of 49 Page ID #:15

ATF FOIA REQUEST

Re: NANCY FIEDLER, et al., v. TRUTH AQUATIC INC., et al.,
June 8, 2021

Page 2

Thank you for your prompt attention to this FOIA request. My direct dial line is 213-438-
2125 and my email address is mwilliams@ljdfa.com.

Very truly yours,

LA FOLLETTE, JOHNSON, DeHAAS,
FESLER & AMES

By /s/ Mark M. Williams
MARK M. WILLIAMS

 

 
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Case 2:20-cr-00600-. Document1 Filed 12/01/20 Pi 1 df5 aRagerdiindetourr

 

12/01/2020

 

 

 

CENTRAL DISTRICT OF CALIFORNIA
BY: : DEPUTY

 

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

January 2020 Grand Jury

UNITED STATES OF AMERICA, CR 2:20-cr-00600-GW
Plaintifé, INDICTMEN?D
Vv. [18 U.S.C. § 1115: Seaman’s
Manslaughter]

JERRY NEHL BOYLAN,

Defendant.

 

 

The Grand Jury charges:

INTRODUCTORY ALLEGATIONS

At times relevant to this Indictment:

1. The passenger vessel (“P/V”) Conception was a 75-foot, wood
and fiberglass passenger vessel based out of Santa Barbara,
California.

2. Defendant JERRY NEHL BOYLAN was the Captain and Master of
the P/V Conception and, as such, was responsible for the safety and

security of the vessel, its crew, and its passengers.

 

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Case 2:20-cr-O0600-C

3. In the early morning hours

broke out aboard the P/V Conception,

crewmember and all 33 passengers onboard.

4, These Introductory Allegations are incorporated into each

count of this Indictment.

. Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page 17 of49 Page ID #:17
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of September 2, 2019, a fire

claiming the lives of one

 

 

 

 

 

 
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Case 2:20-cr-00600-( Document 1 Filed 12/01/20 Pi 30f5 PageID#3

COUNTS ONE THROUGH THIRTY-FOUR
[18 U.S.C. § 1115]
2019, within

On or about September 2, in Santa Barbara County,

the Central District of California, defendant JERRY NEHL BOYLAN, the
Captain and Master employed on the P/V Conception, by his misconduct,
negligence, and inattention to his duties on said vessel, including
failing to have a night watch or roving patrol as required by 46
C.F.R. § 185.410 and the vessel’s United States Coast Guard
Certificate of Inspection, failing to conduct sufficient fire drills
as required by 46 C.F.R. § 185.524, and failing to conduct sufficient
crew training as required by 46 C.F.R. § 185.420, caused the deaths

of the following individuals:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

COUNT VICTIM
ONE C.D.A.
Two S.Jd.8.

THREE T.N.A.S.
FOUR B.F.
FIVE Js-P Aw
SIX N.G.B.

SEVEN P.AcB.

EIGHT V.D.C.
NINE K.M.C.
TEN R.S.C.

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Case 2:20-cr-O0600-1

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COUNT VICTIM
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Foreperson

NICOLA T. HANNA
United States Attorney

Brnolen Pag

BRANDON D. FOX
Assistant United States Attorney
Chief, Criminal Division

JOSEPH O. JOHNS

Assistant United States Attorney
Chief, Environmental & Community
Safety Crimes Section

MARK A. WILLIAMS

Assistant United States Attorney
Deputy Chief, Environmental &
Community Safety Crimes Section

DIANA M. KWOK
Assistant United States Attorney
Environmental & Community Safety
Crimes Section

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CASE NUMBER

UNITED STATES OF AMERICA, CR 2:20-cr-00600-GW
PLAINTIFF

 

Vv NOTICE TO COURT OF

JERRY NEHL BOYLAN, RELATED CASE
DEFENDANT

(PURSUANT TO GENERAL ORDER 14-03)

 

 

Plaintiff United States of America hereby informs the Court that the above-entitled
criminal case may be related to In the Matter of the Complaint of Truth Aquatics, Inc. and Glen
Richard Fritzler and Dana Jeanne Fritzler, Case No. 19-CV-7693-PA-MRW, which:

x was previously assigned to the Honorable Percy Anderson;

has not been previously assigned.

The above-entitled cases may be related for the following reasons:

x arise from the same or a closely related transaction, happening, or event;
X call for determination of related or similar questions of law and fact; and/or
x involve one or more defendants from the criminal case in common and would

 

entail substantial duplication of labor if heard by different judges.

Additional explanation (if any):

Both the civil case and the instant criminal case arise from the fire aboard the P/V
Conception on September 2, 2019, that claimed the lives of 34 individuals. There is likely to be
considerable overlap of facts, witnesses, and legal theories in both cases. The most recent Joint
Report filed in the civil case notes that “‘...Petitioners believe that many, and perhaps all, of the
central issues to this limitation action will also be at issue in the criminal proceedings.” See 19-
CV-7693-PA-MRW, Docket No. 164.

Dated: November 30, 2020 AU | / WL
&

MARK A. WILLIAMS

JOSEPH O. JOHNS

DIANA KWOK

Assistant United States Attorneys

 

 

 
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Case 2:20-cr-00600-G Document 9 Filed 12/07/20 Pa, 1of6 Page ID #:19

CUAUHTEMOC ORTEGA (Bar No. 257443)
Federal Public Defender
GEORGINA WAKEFIELD (Bar No. 282094)
E-Mail: Georgina_Wakefield@fd.org)

eputy Federal Public Defender
321 East 2nd Street |
Los Angeles, California 90012-4202
Telephone: (213) 894-2854
Facsimile: (213) 894-0081

Attorneys for Defendant
JERRY NEHL BOYLAN

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION
UNITED STATES OF AMERICA, Case No. 2:20-CR-00600-GW
Plaintiff,
“ SEE
JERRY NEHL BOYLAN,
Defendant.

 

 

Defendant Jerry Nehl Boylan, by and through his counsel of record, Deputy
Federal Public Defender Georgina Wakefield, hereby files this Opposition to the
Government’s Notice of Related Cases (ECF No. 6).

Respectfully submitted,

CUAUHTEMOC ORTEGA
Federal Public Defender

DATED: December 7, 2020 By /s/ Georgina Wakefield

GEORGINA WAKEFIELD
Deputy Federal Public Defender
Attorney for JERRY NEHL BOYLAN

 

 

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OPPOSITION

I. INTRODUCTION

Jerry Boylan opposes the government’s designation of this case as related to Jn
the Matter of the Complaint of Truth Aquatics, Inc. and Glen Richard Fritzler and
Dana Jeanne Fritzler, Case No. 19-CV-7693-PA-MRW, because the two cases are not
“related” under the plain terms of the General Order or Local Rules governing the
assignment of cases in this District.

The District’s operative rule requiring random assignment of cases guarantees
the fair distribution of cases, avoids the appearance of bias, promotes public confidence
in the administration of justice, and reduces opportunities for judge-shopping. In trying
to circumvent the random assignment process, the government has designated this case
as “related” to Matter of Truth Aquatics. It is not. The General Order and Local Rules
are clear: a criminal case cannot be related and transferred to a judge presiding over a
previously filed civil case. With no basis for requesting the transfer, the Court should
reject the government’s notice, and this case should remain with the randomly assigned

district judge.

If. FACTUAL STATEMENT
On September 2, 2019, the dive boat Conception caught fire off the coast of
Santa Cruz Island, one of the Channel Islands off the coast of California. Tragically,
thirty-three passengers and one crewmember died because of the fire. Five
crewmembers, including the Conception’s captain, Jerry Boylan, narrowly escaped by
jumping overboard into the Pacific Ocean.
The owners of the Conception—Truth Aquatics and the Fritzler Family Trust—

filed a civil maritime action in federal court seeking exoneration from or limitation of

 

 

 

 

 
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liability under 46 U.S.C. § 30501 et seq.' The civil case was assigned to the Honorable
District Judge Percy Anderson.” Loved ones of the decedents and one surviving
crewmember filed answers to the complaint and counterclaims for damages. According
to recent filings, the parties are working to establish a discovery plan as required by
Federal Rule of Civil Procedure 26(f), and counsel for the approximately forty-four
claimants have been ordered to propose lead or liaison counsel to streamline the
complex litigation.

Mr. Boylan was an employee, not an owner, of Truth Aquatics or the
Conception. He is not a party to the civil lawsuit initiated by the owners of the
Conception.

On December 1, 2020, the government obtained an indictment charging Mr.
Boylan with 34 counts of seaman’s manslaughter, a violation of 18 U.S.C. § 1115.
(ECF No. 1.) Mr. Boylan is the only defendant charged.

This case was randomly assigned to the Honorable District Judge George H. Wu
under General Order 19-03. The government filed a Notice of Related Cases, seeking to
reassign the criminal case from Judge Wu to Judge Anderson by asserting that it relates

to the civil case under the operative general order. (ECF No. 6.)

II. ARGUMENT
A. Random assignment of district judges to cases protects the integrity of
the judicial system and the fair administration of justice.
28 U.S.C. § 137 governs the assignment of cases. It provides that “[t]he business

ofa court having more than one judge shall be divided among the judges as provided

 

l Comp lant | (Doc. No. Ds In the Matter of the Complaint of Truth Aquatics,
2:19-CV-07693-PA-MRW (C.D. Cal. Sept. 5, 2019).

* Id. (Doc. No. 9).
3 Td. (Doe, No. 164); id. (Doc. No. 174).

 

 

 

 
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by the rules and orders of the court.” The default rule in this District is that criminal
cases, unless directly assigned, will be randomly assigned to district judges.‘

The fundamental rationale for a general rule requiring random assignment of
cases is to promote fairness and impartiality and ensure public confidence in the
integrity of the judicial process. Randomly assigning district judges to cases is
important because it precludes real or apparent bias by preventing “judge shopping.” /n
re Yagman, 796 F.2d 1165, 1177-78 (9th Cir. 1986); see also Cruz v. Abbate, 812 F.2d
571, 573-74 (9th Cir. 1987) (noting the importance of avoiding real or perceived
arbitrariness or unfairness). Leaving the pairing of cases and judges to chance protects
the integrity of the judicial system and promotes fairness and impartiality. Jn re
Marshall, 403 B.R. 668, 677—78 (C.D. Cal. 2009), aff'd, 721 F.3d 1032 (9th Cir. 2013).

For these reasons, attempts to manipulate the random case assignment process
are subject to universal condemnation. United States v. Phillips, 59 F. Supp. 2d 1178,
1180 (D.Utah 1999) (collecting cases and articles). And courts “must take great pains
to avoid any inference that assignments are being made for an improper purpose,
particularly where criminal cases are concerned.” Abbate, 812 F.2d at 573-74.

Consistent with these principles, the Central District of California has adopted
general orders and local rules providing for random assignment of district judges. The
rules also provide a limited exception to the rule of random assignment and permit
reassignment of related cases in some cases. As discussed below, that limited exception
does not apply here. Thus, the case should remain with Judge Wu, who was randomly

assigned to it.

 

* General Order 19-03 § LA.

 

 

 

 
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B. This criminal case is not related to the maritime civil case Matter of
Truth Aquatics under General Order 19-03, Local Criminal Rule 7-4, or
any other authority.

The only legal authority cited by the government in support of its notice of
related case is General Order 14-03. Because that order has been superseded, this
opposition assumes that the government intended to cite the operative order, General
Order 19-03. That order prohibits reassignment here.°

General Order 19-03 prescribes the procedures for assigning cases to district
judges in the Central District of California. A case may be assigned to a district judge
in one of two ways: by random selection or direct assignment. A criminal case must be
randomly assigned to a district judge, unless it meets the requirements for direct
assignment.° Because this case did not meet the requirements for direct assignment, it
was randomly assigned to Judge Wu.

Section II of the General Order provides a limited exception to the rule of
random assignment and sets forth the circumstances under which a case can be
reassigned to a district judge who is presiding over a related case. A criminal case can
be related only to a previously filed criminal case.’ A criminal case cannot relate to a
previously filed civil case to reassign the district judge.* Thus, the government’s only
proffered legal basis for relating the criminal case to the civil case does not support

reassignment.

 

_ > The 2014 order would also prohibit reassignment, because the rules about
assignments for related cases are the same.

6 Order, Section L.A.

7 Order, Section II.I.1.a (“Parties must promptly file a Notice of Related Cases . .
. whenever a criminal case previously filed and one or more informations or
indictments later filed [describing circumstances].”) (emphasis added).

_ 8 See id.; accord L.Cr.R. 7-4 (a criminal case is properly related only to a
previously filed criminal case).

 

 

 

 
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There are several other issues with the government’s Notice of Related Cases.
For example, it asserts that the two cases “involve one or more defendants from the
criminal case in common.” That is incorrect. Putting aside that there is no “criminal
case in common,” Mr. Boylan is the only defendant in the criminal case and he is not a
party to the civil case.° Ultimately, it is unnecessary for the Court to delve into these
issues because there is no basis for reassignment here: a criminal case cannot relate to a
civil case in order to reassign the randomly selected district judge. The Court should

thus reject the government’s notice and the case should remain with Judge Wu.

IV. CONCLUSION
General Order 19-03 is clear: a criminal case cannot be reassigned to a district
judge presiding over a previously filed civil case. This case should remain with the

randomly assigned district judge: Judge Wu.

Respectfully submitted,

CUAUHTEMOC ORTEGA
Federal Public Defender

DATED: December 7, 2020 By /s/ Georgina Wakefield

GEORGINA WAKEFIELD
Deputy Federal Public Defender
Attorney for JERRY NEHL BOYLAN

 

 

° Because the government is also not a party to the civil case, there is no party in
common at all among the criminal case and me civil case.

 

 

 

 
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16/11/21, 3:39 PM ATF National Respons, .m Activated to Join the Investigation of the Conce, 3oat Fire | Bureau of Alcohol, Tobacco, Firea...

 

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Bureau of Alcohol, Tobacco, Firearms and Explosives

ATF News Release

Los Angeles Flela Division

 

Contact: Ginger Colbrun For Immediate Release
(818) 265-2507 Thursday, September 5, 2019
www.atf.gov

ATF National Response Team Activated to Join the Investigation ofthe
Conception Boat Fire

Santa Barbara, Calif. - Members from the National Response Team (NRT) of the Bureau of Alcohol, Tobacco,
Firearms and Explosives (ATF) along with ATF special agents from the Los Angeles Field Division were
activated today to join the investigation of the fire that occurred on the dive boat Conception killing 34
people Monday. The fire started in the early morning hours of Labor Day while the ship was anchored off
Santa Cruz Island.

The partial NRT callout will have experts arriving tomorrow and they will soon be processing the scene to
determine the cause and origin of the fire. Special agents and other experts with the NRT were activated to
join the investigation at the request of the Santa Barbara County Sheriff’s Office (SBCSO). The NRT
members will be working jointly with the ATF Los Angeles Field Division, SBCSO, and the U.S. Coast Guard.

The 75-foot commercial diving boat was based out of Santa Barbara Harbor. The boat was fully engulfed in
the fire and sank to the ocean floor at approximately 7:20 a.m., Monday. Five of the 39 passengers onboard
were rescued.

“ATF is committed to working alongside local law enforcement its national partners by bringing its resources
to determine the origin and cause of this fire that resulted in the tragic loss of 34 people,” said Special
Agent in Charge of ATF Los Angeles Fieid Division Carlos A. Canino. “ATF will provide whatever is necessary
to thoroughly investigate and provide answers to the victims’ families.”

Federal, state and local investigators can request an NRT activation to investigate significant fire, arson and
explosion incidents. The NRT provides an immediate and sustained nationwide response capability,
deploying within 24 hours of notification, with state-of-the-art equipment and qualified ATF personnel.

The NRT works in conjunction with other investigators to reconstruct the scene, identify the seat of the
blast or origin of the fire and determine the cause of an incident. In the case of bombings and arsons, NRT
members gather evidence to support criminal prosecutions. A deployed NRT is generally broken down into
two components — a group that processes the scene and an investigative-lead element. In the course of
the overall investigation, both components coordinate daily to ensure investigative continuity.

In 1978, ATF developed the NRT to bring its expertise to federal, state and local investigators in meeting the
challenges faced at the scenes of significant explosives and arson incidents. The NRT consists of four
teams organized geographically to cover the United States.

This is the 14th NRT activation in fiscal year 2019 and the 846st since the inception of the NRT.

The teams are each composed of veteran special agents who have post-blast and fire origin-and-cause
expertise; forensic chemists; explosives enforcement officers; fire protection engineers; accelerant
detection canines; explosives detection canines; intelligence support, computer forensic support and audit

 

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support. Further complementing the teams’ efforts are technical, legal and intelligence advisers. Moreover, a
fleet of fully equipped response vehicles strategically located throughout the United States is available to
provide logistical support.

Other activations of the NRT in California include the 2018 five-alarm fire in Oakland; the 2018 blaze
resulting in the $55 million loss of the Northern California Concord apartment complex; the 2015 fire in San
Marco at Holland Motor Homes causing $4 million in damage; the 2014 Da Vinci complex blaze in Los
Angeles causing $30 million in damage to the complex and an additional $50 million in damage to the
Department of Water and Power building.

For more information, follow ATF on Twitter @LosAngelesATF.
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Los Angeles Field Division

 

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U.S. Department of Justice

 

Bureau of Alcohol, Tobacco,
Firearms and Explosives

 

www.atf gov

September 29, 2021 REFER TO: 2021-0854

Mr. Mark M. Williams, Esq.
LaFollette Johnson

865 South Figueroa Street
32nd Floor

Los Angeles, CA 90017-2543

mwilliams@ljdfa.com
Dear Mr. Williams:

This responds to your Freedom of Information Act (FOIA) [/Privacy Act] request dated June 8,
2021 and received by the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) on June
8, 2021, in which you requested records concerning a fire at Dive Boat Conception, Santa Cruz
Island, CA on 9/2/19. Your request has been assigned number 2021-0854. Please refer to this
number on any future correspondence.

At this time, the investigation relating to the fire at Dive Boat Conception, Santa Cruz Island, CA
on 9/2/19 is still open. Therefore, your request is denied pursuant to 5 U.S.C. § 552(b)(7)(A)
because it concerns an ongoing investigation. Exemption (b)(7)(A) authorizes us to withhold
investigatory records or information compiled for law enforcement purposes, the release of
which could reasonably be expected to interfere with enforcement proceedings.

For your information, Congress excluded three discrete categories of law enforcement and
national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c). This
response is limited to those records that are subject to the requirements of the FOIA. This isa
standard notification that is given to all our requesters and should not be taken as an indication
that excluded records do, or do not, exist.

You may contact our FOIA Public Liaisons, Darryl Webb or Zina Kornegay, at (202) 648-7390,
for any further assistance and to discuss any aspect of your request. Additionally, youmay
contact the Office of Government Information Services (OGIS) at the National Archives and
Records Administration to inquire about the FOIA mediation services they offer. The contact
information for OGIS is as follows: Office of Government Information Services, National
Archives and Records Administration, Room 2510, 8601 Adelphi Road, College Park,
Maryland 20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-
684-6448; or facsimile at 202-741-5769.
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Mr. Williams

If you are not satisfied with my response to this request, you may administratively appeal by
writing to the Director, Office of Information Policy (OIP), United States Department of Justice,
441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an appeal through
OIP's FOIA STAR portal by creating an account following the instructions on OIP’s website:
https:/Avww.justice.gov/oip/submit-and-track-request-or-appeal. Your appeal must be
postmarked or electronically transmitted within 90 days of the date of my response to your
request. If you submit your appeal by mail, both the letter and the envelope should be clearly
marked “Freedom of Information Act Appeal.”

Sincerely,

Adam C. Siple
Chief
Information and Privacy Governance Division
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EXHIBIT “D”
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U.S. Depar unent of Justice
Office of Information Policy
Sixth Floor

441 G Street, NW .
Washington, DC 20530-0001

 

 

Telephone: (202) 514-3642

November 08, 2021

Mark Williams
Suite 600 701 North Brand Boulevard
Glendale, CA 91203

Dear Mark Williams:

This is to advise you that the Office of Information Policy (OIP) of the U.S. Department
of Justice received your administrative appeal from the action of the ATF regarding Request
No. 2021-0854 on 10/29/2021.

In an attempt to afford each appellant equal and impartial treatment, OIP has adopted a
general practice of assigning appeals in the approximate order of receipt. Your appeal has been
assigned number A-2022-00245 . Please refer to this number in any future communication with
OIP regarding this matter. Please note that if you provided an email address or another
electronic means of communication with your request or appeal, this Office may respond to
your appeal electronically even if you submitted your appeal to this Office via regular U.S.
Mail.

We will notify you of the decision on your appeal as soon as we can. If you have any
questions about the status of your appeal, you may contact me at (202) 514-3642. If you have
submitted your appeal through FOIA STAR, you may also check the status of your appeal by
logging into your account.

Sincerely,

Prucila Jone
Priscilla Jones
Supervisory Administrative Specialist
_ Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page 36 of 49 Page ID #:36

U.S, Department of Justice
Office. of Information. Policy
Sixth Floor

441 G Street, NW
Washington, DC 20530-0001

 

 

"Telephone: (202) 514-3642

November 30, 2021

Mark Williams

_ La Follette Johnson, PC <
Suite 600 PS Fitna og
701 North Brand Boulevard Ret . Appeal No, A -20ee O07 5)
Glendale, CA 91203 Request No. 2021- 0854

mwilliams@ljdfa.com DRC:MGS

VIA: Email
Dear Mark Williams:

You appealed from the action of the Bureau of Alcohol, Tobacco, Firearms and .
Explosives (ATF) on your Freedom of Information Act request for access to records concerning —
areport of ATF investigation of the Conception boat fire that took place on September 2, 2019, .
at Santa Cruz Island, California, I note that your appeal concerns ATF's.denial of your request.

After carefully considering your appeal, I am affirming ATF's action.on your request. —

The FOIA provides for disclosure of many agency records. At the same time, Congress: oe
included in the FOIA nine exemptions from disclosure that provide protection for imporiant van
interests such as personal privacy, privileged communications, and certain law-enforcement’
activities. ATF properly withheld this information-in full because it is protected from
disclosure under the FOIA pursuant to.5 U.S.C, 552(b)(7)(A) and it is reasonably foreseeable
that disclosure of this information would harm the interests protected by this provision. This
provision concerns certain records or information compiled for law enforcement purposes the

- release of which could reasonably be expected to interfere with enforcement a es

Please be advised that this Office's decision was made only after a fall review of this |
matter. Your appeal was assigned to an attorney with this Office who thor oughly reviewed and
analyzed your appeal, your underlying request, and the action of ATF i in response to youn
request,

If you are dissatisfied with my action-on your appeal, the F OIA deriey you to file a
lawsuit in federal district court in accordance with 5 U.S.C. §55260)(4)8),
Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page 37 of 49 Page ID #:37

For your information, the Office of Government Information Services (OGIS) offers.
mediation services to resolve disputes between FOIA requesters and Federal agencies. as-anon-
exclusive alternative to litigation. Using OGIS services does not affect your tight'to pursue ~.
litigation. The contact information for OGIS is.as follows: Office of Government Information
Services, National Archives and Records Administration, Room 2510, 8601 Adelphi Road,

College Park, Maryland 20740-6001; email at ogis@nara.gov; telephone at 202-741 -5770; toll
free at 1-877-684-6448; or facsimile at 202-741-5769. If you. have any. questions regarding the
action this Office has taken on your appeal, you may contact this Office's FOIA: Public Liaison. .
for your appeal. Specifically, you may speak with the undersigned: agency official by calling .
(202) 514-3642.

Sincerely,

/s/ Daniel-Castellano

Daniel Castellano,
Associate Chief, for Matthew Hurd, Chief,
Adininistrative Appeals Staff

 

 
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EXHIBIT “E”
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Case 2:22-cv-00202-FMO-E Document1 Filed 01/10/22 Page 39 of 49 Page ID #:39

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Case 2:20-cr-00600-GW Document1 Filed 12/01/20 Page 1 ie niexccourt

 

12/01/2020

 

 

 

CENTRAL DISTRICT OF CALIFORNIA
BY: DEPUTY

 

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

January 2020 Grand Jury

UNITED STATES OF AMERICA, cR 2:20-cr-00600-GW
Plaintiff, INDICTMENT
Vv. [18 U.S.C. § 1115: Seaman’s
Manslaughter]

JERRY NEHL BOYLAN,

Defendant.

 

 

 

 

The Grand Jury charges:

INTRODUCTORY ALLEGATIONS

At times relevant to this Indictment:

Le The passenger vessel (“P/V”) Conception was a 75-foot, wood
and fiberglass passenger vessel based out of Santa Barbara,
California.

2. Defendant JERRY NEHL BOYLAN was the Captain and Master of
the P/V Conception and, as such, was responsible for the safety and

security of the vessel, its crew, and its passengers.

 
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Case 2:20-cr-O0600-GW Document1 Filed 12/01/20 Page 2of5 Page ID #:2

3. In the early morning hours of September 2, 2019, a fire
broke out aboard the P/V Conception, claiming the lives of one
crewmember and all 33 passengers onboard.

4. These Introductory Allegations are incorporated into each

count of this Indictment.

 
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Case 2:20-cr-O0600-GW Document1 Filed 12/01/20 Page3of5 Page ID #:3

COUNTS ONE THROUGH THIRTY-FOUR
[18 U.S.C. § 1115]

On or about September 2, 2019, in Santa Barbara County, within
the Central District of California, defendant JERRY NEHL BOYLAN, the
Captain and Master employed on the P/V Conception, by his misconduct,
negligence, and inattention to his duties on said vessel, including
failing to have a night watch or roving patrol as required by 46
C.F.R. § 185.410 and the vessel’s United States Coast Guard
Certificate of Inspection, failing to conduct sufficient fire drills
as required by 46 C.F.R. § 185.524, and failing to conduct sufficient
crew training as required by 46 C.F.R. § 185.420, caused the deaths

of the following individuals:

 

 

 

 

 

 

 

 

 

 

 

 

 

COUNT VICTIM
ONE C.D.A.
TWO S.d.58.

THREE T.N.A.S.
FOUR BF.
FIVE Ja=Pa As
SIX N.G.B.

SEVEN PAs Bs

EIGHT V.D.C.
NINE K.M.C.
TEN R.s.C.

ELEVEN S.S.D.

 

 

 

 

 

 

 
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COUNT VICTIM
TWELVE J.C.D.
THIRTEEN L.A.F.
FOURTEEN K.O.F
FIFTEEN A.A.F
SIXTEEN A.D.D.-F.
SEVENTEEN D.G.
EIGHTEEN Yak.
NINETEEN Y.H.
TWENTY A.H.K
TWENTY-ONE “0
TWENTY-TWO C.S.M
TWENTY-THREE K.M.T
TWENTY-FOUR C.A.M
TWENTY-FIVE M.G
TWENTY-SIX K.N.
TWENTY -SEVEN E.S.Q
TWENTY-EIGHT A.R.S.Q.
TWENTY-NINE M.S.Q
THIRTY N.S.S.Q.

 

 

 

 

 

 
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COUNT VICTIM
THIRTY-ONE S.5.5
THIRTY-TWO F.J.S

THIRTY-THREE T.S.S
THIRTY-FOUR w.T

 

 

 

 

NICOLA T. HANNA
United States Attorney

fo Age

BRANDON D. FOX
Assistant United States Attorney
Chief, Criminal Division

JOSEPH O. JOHNS

Assistant United States Attorney
Chief, Environmental & Community
Safety Crimes Section

MARK A. WILLIAMS

Assistant United States Attorney
Deputy Chief, Environmental &
Community Safety Crimes Section

DIANA M. KWOK
Assistant United States Attorney
Environmental & Community Safety
Crimes Section

A TRUE BILL

[S/

 

 

Foreperson

 
 
 

Shse 2:20-cr-00600-GWUMGER FATES DISGRIS/O COUR Page 1 of 2 Page Hoi psmicr court
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

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12/01/2020

 

 

 

CENTRAL DISTRICT OF CALIFORNIA

 

CaseNumber  2:20-cr-00600-GW

 

U.S.A. v. Jerry Nehl Boylan

 

Indictment [_] Information

Investigative agency (FBI, DEA, etc.)

 

 

BY: DM DEPUTY

 

Defendant Number 1

Year of Birth 1953

 

 

FBI; USCG-CGIS; ATF

NOTE: All items MUST be completed. If you do not know the answer or a question is not applicable to your case, enter "N/A."

OFFENSE/VENUE

a. Offense charged as a:

[_] Class A Misdemeanor [_] Minor Offense [_] Petty Offense
[_] Class B Misdemeanor [_] Class C Misdemeanor [v] Felony
b. Date of Offense September 2, 2019

 

c. County in which first offense occurred

Santa Barbara

 

d. The crimes charged are alleged to have been committed in
(CHECK ALL THAT APPLY):

[_] Los Angeles
[_] Orange

[_] Riverside

[_] San Bernardino

[_] Ventura

Santa Barbara
[_] San Luis Obispo
[] Other

Citation of Offense 18U.S.C.§ 1115

 

 

e. Division in which the MAJORITY of events, acts, or omissions
giving rise to the crime or crimes charged occurred:

Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)
[_] Eastern (Riverside and San Bernardino) [_] Southern (Orange)

RELATED CASE

Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously
filed and dismissed before trial?

No [_] Yes

If "Yes," Case Number:

 

Pursuant to General Order 19-03, criminal cases may be related
if a previously filed indictment or information and the present
case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Related case(s), if any (MUST MATCH NOTICE OF RELATED

CASE): 19-CV-7693-PA-MRW

 

 

FILED IF EITHER "YES" BOX IS CHECKED.

PREVIOUSLY FILED COMPLAINT/CVB CITATION
A complaint/CVB citation was previously filed on: N/A

Case Number: N/A

 

Assigned Judge: N/A

 

Charging: N/A
The complaint/CVB citation:

[_] is still pending

[-] was dismissed on:
PREVIOUS COUNSEL
Was defendant previously represented?
IF YES, provide Name: N/A

Phone Number: N/A

COMPLEX CASE
Are there 8 or more defendants in the Indictment/Information?

[_] Yes* No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

[_] Yes* No

*AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS
CHECKED.

SUPERSEDING INDICTMENT/INFORMATION
IS THIS ANEW DEFENDANT? [_] Yes No
This is the N/A superseding charge (i.e., 1st, 2nd).

The superseding case was previously filed on:
N/A

Case Number N/A

 

No [_] Yes

 

 

 

 

The superseded case:
[_] is still pending before Judge/Magistrate Judge

N/A
[_] was previously dismissed on N/A

 

 

Are there 8 or more defendants in the superseding case?
[_] Yes* No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

[_] Yes* No

Was a Notice of Complex Case filed on the Indictment or

Information?
No

[_] Yes

*AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS

 
Case 2:22-cv-00202-FMO-E_ Document1 Filed 01/10/22 Page 45 of 49 Page ID #:45
Case 2:20-cr-00600-GWUWGEEFG EES DSGRISEOURPage 2 of 2 Page ID #:7
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

CASE SUMMARY
INTERPRETER CUSTODY STATUS
Is an interpreter required? —_[_] YES NO Defendant is not in custody:
IF YES, list language and/or dialect: a. Date and time of arrest on complaint: N/A
N/A b, Posted bond at complaint level on: N/A
in the amount of $ N/A
OTHER c.PSA supervision? [_] Yes [¥]No
Male [_] Female d. Is on bail or release from another district:
U.S. Citizen [_] Alien N/A
Alias Name(s) N/A Defendant is in custody:

 

This defendant is charged in:

All counts
[_] Only counts:

 

[_] This defendant is designated as "High Risk" per
18 USC § 3146(a)(2) by the U.S. Attorney.

[_] This defendant is designated as "Special Case" per
18 USC § 3166(b)(7).

[v] No
[_] No

[_] Yes
[_] Yes

Is defendant a juvenile?

IF YES, should matter be sealed?

The area(s) of substantive law that will be involved in this case
include(s):

[_] financial institution fraud [_] public corruption

[_] government fraud [_] tax offenses
[_] environmental issues [_] mail/wire fraud
[_] narcotics offenses [_] immigration offenses
[_] violent crimes/firearms

Other

[_] corporate fraud

Manslaughter

 

 

a. Place ofincarceration: [_] State [_] Federal

b. Name of Institution: N/A

 

c. If Federal, U.S. Marshals Service Registration Number:
N/A

d.[_] Solely on this charge. Date and time of arrest:
N/A

 

 

e. On another conviction: [_] Yes No

IFYES: [_] State [_] Federal [_] Writ of Issue
f. Awaiting trial on other charges: [_] Yes No

IFYES: [] State [_] Federal AND

Name of Court: N/A

 

Date transferred to federal custody: N/A

This person/proceeding is transferred from another district
pursuant to F.R.Cr.P. 20 21 40

 

 

EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN: N/A

 

 

 

Date 11/30/2020

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Signature of Assistant U.S. Attorney
Mark A. Williams

 

Print Name

 
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12/01/2020

CENTRAL DM OF CALIFORNIA
BY: DEPUTY

 

 

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

CASE NUMBER
UNITED STATES OF AMERICA, CR 2:20-cr-00600-GW
PLAINTIFF
" NOTICE TO COURT OF
JERRY NEHL BOYLAN, RELATED CASE
DEFENDANT

(PURSUANT TO GENERAL ORDER 14-03)

 

 

Plaintiff United States of America hereby informs the Court that the above-entitled
criminal case may be related to In the Matter of the Complaint of Truth Aquatics, Inc. and Glen
Richard Fritzler and Dana Jeanne Fritzler, Case No. 19-CV-7693-PA-MRW, which:

x was previously assigned to the Honorable Percy Anderson;

has not been previously assigned.

The above-entitled cases may be related for the following reasons:

x arise from the same or a closely related transaction, happening, or event;
x call for determination of related or similar questions of law and fact; and/or
x involve one or more defendants from the criminal case in common and would

entail substantial duplication of labor if heard by different judges.

Additional explanation (if any):

Both the civil case and the instant criminal case arise from the fire aboard the P/V
Conception on September 2, 2019, that claimed the lives of 34 individuals. There is likely to be
considerable overlap of facts, witnesses, and legal theories in both cases. The most recent Joint
Report filed in the civil case notes that “...Petitioners believe that many, and perhaps all, of the
central issues to this limitation action will also be at issue in the criminal proceedings.” See 19-
CV-7693-PA-MRW, Docket No. 164.

Dated: November 30, 2020 AJ a Bae
&

MARK A. WILLIAMS

JOSEPH O. JOHNS

DIANA KWOK

Assistant United States Attorneys

 
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Case 2:20-cr-00600-GW Document 28 Filed 03/29/21 Page 1of3 Page ID #:70

TRACY L. WILKISON
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Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

 

 

UNITED STATES OF AMERICA, No. CR 20-600-GW
Plaintiff, ORDER CONTINUING TRIAL DATE AND
FINDINGS REGARDING EXCLUDABLE TIME
Vv. PERIODS PURSUANT TO SPEEDY TRIAL
ACT

JERRY NEHL BOYLAN,
[PROPOSED] TRIAL DATE: 3-22-22
Defendant.
[PROPOSED] STATUS CONFERENCE AND
MOTIONS HEARING DATE: 2-28-22

 

 

 

 

The Court has read and considered the Stipulation Regarding
Request for (1) Continuance of Trial Date and (2) Findings of
Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
parties in this matter on March 25, 2021. The Court hereby finds
that the Stipulation, which this Court incorporates by reference into
this Order, demonstrates facts that support a continuance of the
trial date in this matter, and provides good cause for a finding of

excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.

 
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The Court further finds that: (i) the ends of justice served by
the continuance outweigh the best interest of the public and
defendant in a speedy trial; (ii) failure to grant the continuance
would be likely to make a continuation of the proceeding impossible,
or result in a miscarriage of justice; and (iii) failure to grant the
continuance would unreasonably deny defendant continuity of counsel
and would deny defense counsel the reasonable time necessary for
effective preparation, taking into account the exercise of due
diligence.

THEREFORE, FOR GOOD CAUSE SHOWN:

1. The trial in this matter is continued from March 30, 2021,
to March 22, 2022 at 8:30 a.m. The status conference hearing is set
for February 28, 2022 at 8:00 a.m. The briefing schedule for any
motions shall be: motions to be filed on or before January 17, 2022;
oppositions to be filed on or before February 7, 2022; replies to be
filed on or before February 14, 2022; and motions hearing date of
February 28, 2022. The parties shall endeavor in good faith to file
all motions in limine by the above motions cutoff date.

2. The time period of March 30, 2021, to March 22, 2022,
inclusive, is excluded in computing the time within which the trial
must commence, pursuant to 18 U.S.C. §§ 3161 (h) (7) (A), (h) (7) (B) (1),
and (B) (iv).

3s Defendant shall appear in Courtroom 9D of the Federal
Courthouse, 350 W. lst Street, Los Angeles, California on March 22,
2022, at 9:00 a.m.

4, Nothing in this Order shall preclude a finding that other
provisions of the Speedy Trial Act dictate that additional time
periods are excluded from the period within which trial must

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commence. Moreover, the same provisions and/or other provisions of
the Speedy Trial Act may in the future authorize the exclusion of
additional time periods from the period within which trial must
commence.

IT IS SO ORDERED.

og, At -——
March 29, 2021 “/- He, Mt

 

 

DATE HONORABLE GEORGE H. WU
UNITED STATES DISTRICT JUDGE

Presented by:

/s/
DIANA KWOK
Assistant United States Attorney

 
